Case 3:13-cv-01346-MPS Document 1 Filed 09/13/13 Page 1 of 10
                        c                                                           c
                                   UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF CONNECTICUT


James V. Catania,                                                             )
                                                                              )
                         Plaintiff,                                           )
                                                                              )
            v.                                                                )    CASE NO. _ _ _ _ __
                                                                              )
Experian; Carla Blair,                                                        )
                                                                              )
                         Defendants.
                                                                              )
                                                                              )
__________________________                                                    ))



                                               JOINT NOTICE OF REMOVAL

            Pursuant to 28 U.S.C. § 1441, Experian Information Solutions, Inc.

("Experian"), erroneously sued as Experian, and Carla Blair (collectively,

"Defendants") hereby file their Joint Notice of Removal of the above-captioned action

to this Court and state as follows:

            1.           Experian and Carla Blair are named Defendants in Civil Action No.

SCC 504459 filed in the Superior Court - Centralized Small Claims for the State of

Connecticut (the "State Court Action").

           2.           The Complaint in the State Court Action was filed with the Clerk of the

Superior Court- Centralized Small Claims on or about August 28, 2013.




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Case 3:13-cv-01346-MPS Document 1 Filed 09/13/13 Page 2 of 10
               c                                          c
        3.      This Notice is being filed with this Court within thirty (30) days after

August 17, 2013, the date upon which Defendants received a copy of Plaintiffs initial

pleading setting forth the claims for relief upon which Plaintiffs action is based.

        4.      A copy of all process, pleadings, and orders served upon Defendants in

the State Court Action is attached hereto as Exhibit A.

        5.      Experian is a corporation which, for monetary fees, regularly engages

in whole or in part in the practice of assembling consumer credit information or other

information on consumers for the purpose of furnishing consumer reports to third

parties. Ex peri an uses means or facilities of interstate commerce for the purpose of

preparing or furnishing consumer reports, and therefore is a "consumer reporting

agency" within the meaning of 15 U.S.C. § 1681a(f).

        6.     Carla Blair is a Senior Legal & Compliance Specialist currently

employed by Experian.

        7.     The claims of relief against all Defendants alleged in the State Court

Action arise under the Fair Credit Reporting Act, 15 U.S.C. §§ 1681-1681 u. Thus,

this court has original subject matter jurisdiction over the above-captioned action

pursuant to 28 U .S.C. § 1331 and 15 U.S.C. § 1681 p. The above-captioned action

may properly be removed to this United States District Court pursuant to 28 U.S.C.

§ 1441(a) and (b). See also Exhibit A.

        8.     At the present time and at the time of the commencement of the State

Court Action, Plaintiff is and was an individual citizen of the State of Connecticut.




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 Attorneys at Law            Pose Offito Box 1110
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     Case 3:13-cv-01346-MPS Document 1 Filed 09/13/13 Page 3 of 10
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                9.           At the present time and at the time of the commencement of the State

     Court Action, Experian is and was a corporation incorporated under the laws of the

     State of Ohio with its principal place of business in Costa Mesa, California.

                 10.         At the present time and at the time of the commencement of the State

     Court Action, Carla Blair is and was an individual citizen of the State of Texas.

                 11.         This Notice is signed pursuant to Rule 11 ofthe Federal Rules of Civil

     Procedure. 28 U.S.C. § 1446(a).

                 12.         All Defendants served with the Complaint in the State Court Action

     consent to and join in this Joint Notice of Removal.

                 13.         In filing this Notice, Defendants do not waive any defenses or rights

     that may be available in this action.

                14.          Promptly after the filing of this Joint Notice of Removal, Defendants

     shall provide notice ofthe removal to the Plaintiff and to the clerk ofthe Court in the

     State Court action, as required by 28 U.S.C. § 1446(d).

                15.          The prerequisites for removal under 28 U.S.C. §§ 1441 and 1446 have

     been met. Defendants accordingly respectfully request that this Court exercise

     jurisdiction over this removed action and enter orders and grant relief as may be

     necessary to secure removal and to prevent further proceedings in the State Court

     Action, and seek all other relief to which they may be justly entitled.




     {W2301750}
      c A n M0 [) y   & T 0 1111 A N c E   L Lr   ~0 Leavenworth Srrctt
      Auorneys at l.:lw                           Post Office Box 1110
                                                  Waterbury. CT0672l·IIIO
                                                  Telephone: 203 ~73 - 1200
Case 3:13-cv-01346-MPS Document 1 Filed 09/13/13 Page 4 of 10
                        c                                                        c
Dated: September 13, 2013                                                 Respectfully submitted,



                                                                          Ann H. Rubin, Esq. (ct04486)
                                                                          Carmody & Torrance LLP
                                                                          50 Leavenworth Street
                                                                          Waterbury, CT 06721-1110
                                                                          Telephone: 203-573-1200
                                                                          Fax: 203-575-2600
                                                                          Email: arubin@carmodylaw.com

                                                                          Attomey for Defendant
                                                                          Experian Information Solutions, inc. and Carl
                                                                          Blair




                                              CERTIFICATE OF SERVICE

            I hereby certify that on this 13 111 of September 2013, a copy of the foregoing

document was filed with the court and served by mail on the following party:


James V. Catania, prose
I 3 Mountain Road
Stafford, CT 06076


                                                                                     Ann. H. Rubin




(W2301750)
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 Attorneys ar Law                             PoJt Office Dox 1110
                                              Waterbury, Cl"06721 -1110
                                              Tdtphon< 203 ~73- 1200
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                   EXHIBIT A
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          P.O. Box 2som
          Hartford, CT 06126-0777




 EXPEAIAN
 P.O. BOX 9701
 ALLEN, TX 75013




         rrhe Judicial Branch of the State of Connecticut complies with the American with
         Disabilities Act (ADA). If you need a reasonable accommodation in accordance with the
         ~DA, contact a court clerk or an ADA contact person listed at www.jud.ct.gov/ADAI.

                                       INFORMATION ABOUT THE ANSWER FORM

1. YOU DO NOT HAVE TO COME TO COURT ON THE ANSWER DATE EXCEPT TO SUBMIT A WAITIEN ANSWER
   IF YOU HAVE NOT DONE SO BY THAT DATE.
   It is not the date of trial. If you have flied an answer contesting the claim the clerk will schedule a date for lhe trial and
   will send you a written notrce by mall of the date and time to come to court.
2. IF YOU DO NOT ANSWER BY THE ANSWER DATE, JUDGMENT COULD ENTER AGAINST YOU WITHOUT A
   HEARING.
   If the judgment is against you and you .d.2..n.Ql pay the amount ordered in the judgment, the party who won the
   judgment may try to collect the money owed by getting permission from the court to have the money taken from your
   wages, financial accounts or property.
3. Counterclaim Filing Fee: Beginning July 1, 2012, there is a $90.00 fee for filing a counterclaim. The fee must be
   paid to the clerk of the court. Please file your answer and counterclaim (with the fee for the counterclaim if you decide
   to file one) by mail or hand deliver it to the clerk. Do not fax.
4. THE HEARING LOCATION (VENUE} IS WHERE A HEARING WOULD BE HELD IF ONE IS SCHEDULED.
   You will receive notice by mail of the time and date of any hearing that may be scheduled.

       IF YOU ADMIT YOU OWE THE CLAIM, MAKE ALL PAYMENTS DIRECTLY TO THE FOLLOWING:

                                             JAMES V CATANIA
                                             13 MOUNTAIN ROAD
                                             STAFFORD, CT 06076
                      Case 3:13-cv-01346-MPS Document 1 Filed 09/13/13 Page 8 of 10

                                    State of Connecticut - Superior Court                                JD-CV-40 A 1 Revised 6/2012
                                                Centralized Small Claims
                                           Toll Free In Connecticut (866} 383·5927
                                             Local Hartford Area {860) 756·7800
                                        Fax: (860} 756·7805      www,jud.ctgov
                            50                                                                      II   Answer II
I~~~~ 1~11111111111111111~1111 IIII
RE: Docket# Isec =-so4459 l                 CATANIA vs. EXPERIAN et al

Hearin                                        Manchester                                                   08/28/2013
                     THIS IS NQI YOUR COURT DATE;              THIS IS YOUR ANSWER DATE:

                                                    o911a12o13           I
 To Answer this claim, fill out this form and return it by mail, FAX or hand deliver it to the clerk. Send
 a copy to each Plaintiff and fill out the CERTIFICATION below.
                     Please read the Information about the Answer Form on the back
JN RESPONSE TO THE CLAJM FOR THIS AMOUNT, plus court costs, if any                                 I    $5.000.00
this is my response. (check all boxes that apply)
      I disagree with the claim because: State below why you disagree; be brief but specific. At trial you will be given a
0     trial with a magistrate and the magistrate will decide what, if anything, you owe. AI the trial you can explain why you
   · disagree and can give the court documents and materials that show why you disagree.




D    I admit I owe part of the claim: (Give the reasons why you do not owe the entire amount. You will be given a trial
     with a magistrate and the magistrate will determine what you owe).



0    I admit I owe the claim but need more time to pay. You may ask for a period of time during which you can make
     payments that you suggest. If you do not, and you are an individual, the court will enter a judgment with an order of
     payments of $35.00 each week until the judgment is paid. If you ask to pay less than $35.00 per week, and the plaintiff
     does not agree, a trial will be scheduled. A jUdQment against a business(for example, a corporation) and a judgment
     against a landlord for return of a security deposit, will be ordered paid in a lump sum.


~ounterclaim Filing Fee: Beginning July 1, 2012, there is a $90.00 fee for filing a counterclaim. The fee must be
paid to the clerk of the court. Please file your answer and counterclaim (with the fee for the counterclaim if you decide
 o file one) by mail or hand deliver it to the clerk. Do not fax.

0    Counterclaim: The plaintiff owes money to me in the amount of
                    for the following reasons:
                                                                                      $   1                                     1




CERTIFICATION: I certify that a copy of this answer was mailed or delivered electronically or
non~electronically on                        (date) to all attorneys and self-represented parties of record
and that written consent for electronically delivery was received from all attorneys and self-represented
parties receiving electronically delivery. Enter below, name and address of each party or attorney that
copy was mailed or delivered to (attach separate sheet if necessary).


 Signature                                    Print Name and Title of Person Signing               Date Signed

Address (No., Street, Town , Zip)             Telephone No.                                        Juris No. (if an attorney
                                                                                                              is signing)
                      Case 3:13-cv-01346-MPS Document 1 Filed 09/13/13 Page 9 of 10

            Centralized Small Claims
            P.O. Box 260777
            Hartford, CT 06126-0777

 -




 CARLA BLAIR
 P.O. BOX 9701
 ALLEN, TX 75013




           ifhe Judicial Branch of the State of Connecticut complies with the American with
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                                               JAMES V CATANIA
                                               13 MOUNTAIN ROAD
                                               STAFFORD, CT 06076
                           Case 3:13-cv-01346-MPS Document 1 Filed 09/13/13 Page 10 of 10

                                               State of Connecticut- Superior Court                       JD·CV-40 A1 Revised 6/2012

                                                            Centralized Small Claims
                                                       Toll Free in Connecticut (866) 383-5927
                                                          Local Hartford Area (860) 756-7800
                                                     Fax: (860} 756-7805      www.iud.ct.gov
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                                                                                                     II Answer Jl
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 Rl:: Docket# [ SCC                         5o4459   j CATANIA vs. EXPER/AN et al

 Hearing Location(Venue):                     SCAH       Manchester                                         08/28/2013
                              THIS IS t!QI YOUR COURT DATE;              THIS IS YOUR ANSWER DATE:

                                                               o911aJ2o13        I
 To Answer this claim, fill out this form and return it by mail, FAX or hand deliver it to the clerk. Send
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                   Please read the Information about the Answer Form on the back
IN RESPONSE TO THE CLAIM FOR THIS AMOUNT, plus court costs, if any                            [ $5.000.00
this is my response. (check all boxes that apply)
      I disa~ree with the claim because: State below why you disagree; be brief but specific. At trial you will be given a
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0      I admit I owe the claim but need more time to pay. You may ask for a period of Ume during which you can make
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                     for the following reasons:
                                                                                             $
                                                                                                 L------------~




CERTIFICATION: I certify that a copy of this answer was mailed or delivered electronically or
non-electronically on                        (date) to all attorneys and self-represented parties of record
and that written consent for electronically delivery was received from all attorneys and self-represented
parties receiving electronically delivery. Enter below, name and address of each party or attomey that
copy was mailed or delivered to (attach separate sheet if necessary).


 Signature                                                Print Name and Title of Person Signing     Date Signed

 Address (No., Street, Town , Zip)                        Telephone No.                              Juris No. (if an attorney
                                                                                                                 Is signing)
